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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

BRIAN WRIGHT and                                        CASE NO.: 6:11-cv-613-ORL-22-KRS
BEN WRIGHT,

       Plaintiffs,
v.

LAKE AUSTIN PROPERTIES I, LTD.,

      Defendant.
___________________________________/

                                           COMPLAINT

       Plaintiffs, BRIAN WRIGHT and BEN WRIGHT (“Plaintiffs”), through

undersigned counsel, sue defendant, LAKE AUSTIN PROPERTIES I, LTD.

(“Defendant”), and for their complaint allege and aver the following:

                         JURISDICTION, VENUE AND PARTIES

       1.      This is an action for damages of $75,000.00 or more and within the

jurisdictional limits of this Court.

       2.      Venue is proper in the Orlando Division, inasmuch as the property at issue

is located in Orange County, Florida, and Defendant maintains its principal office in

Kissimmee, Osceola County, Florida, where it transacts its customary business.

       3.      Plaintiffs are individuals who are residents of the Country of the United

Kingdom, are not residents of the State of Florida, and are sui juris.

       4.      Defendant is a Florida Limited Partnership formed under the laws of the

State of Florida having its principal place of business in Kissimmee, Osceola County,


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Florida, whose general partner is GFD, Inc., a Florida Corporation formed under the laws

of the State of Florida having its principal place of business in Kissimmee, Osceola

County, Florida.

       5.        The matter in controversy exceeds, exclusive of interest and costs, the sum

specified by 28 U.S.C. § 1332.

                                   GENERAL ALLEGATIONS

       6.        Defendant is a developer and seller of condominium properties located in

Florida.

       7.        On or about September 21, 2007, Plaintiffs executed the Agreement for

Sale (“Purchase Agreement”). Because Plaintiffs did not keep or receive back a copy of

the original Purchase Agreement, attached hereto as Exhibit 1 is a true and correct copy

of the Purchase Agreement that was executed by Plaintiffs with a purchase price of

$330,000.00, a 25 percent deposit requirement, and other pertinent information as set

forth in paragraph 8 below.

       8.        Plaintiffs paid deposits of 1,000 British Pounds Sterling, which converted

to $1,828.00, on or about April 10, 2005, and $80,672.00 on or about June 29, 2005, for

total deposits of $82,500.00, to Defendant to place and hold in escrow for the purchase of

building C2 unit 729 (the “Unit”) of The Grande Palisades phase of Defendant’s Lake

Austin Reserve development.

       9.        The Purchase Agreement contemplates closing on the sale and purchase of

the Unit after completion of construction and, as of the date of the filing of this lawsuit,

the Unit and the building housing the Unit have not been substantially completed.

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       10.     Defendant made use of means or instruments of transportation or

communications in interstate commerce, or of the mails, in connection with the sale of

the Unit by utilizing telephone lines, the internet and the mails in communication with

Plaintiffs.

       11.     Despite Plaintiffs’ timely written demand for rescission and termination of

the Purchase Agreement, Defendant has failed to return Plaintiffs’ deposits and has failed

to acknowledge termination of the Purchase Agreement.

       12.     The undersigned law firm has been retained by Plaintiffs to represent them

in this action and Plaintiffs have agreed to pay the undersigned law firm a reasonable fee

for its services and to reimburse the undersigned law firm for all costs advanced in

connection with this action.

       13.     All conditions precedent to the filing of this action have been performed,

waived or otherwise satisfied.

                    COUNT I – VIOLATION OF 15 U.S.C. §§ 1701-1720

       14.     Paragraphs 1 through 13 and 111 through 134 are realleged as though fully

set forth herein.

       15.     Defendant is a developer as defined by 15 U.S.C. § 1701(5) of the Interstate

Land Sales Full Disclosure Act (“ILSFDA”).

       16.     Plaintiffs are purchasers as defined by 15 U.S.C. § 1701(10).

       17.     Pursuant to 15 U.S.C. § 1702, 24 C.F.R. 1710.1(b), and 61 Fed. Reg.

13,602, ILSFDA applies to the sale of lots, including those in residential, commercial,

condominium, or industrial buildings.

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       18.    The Purchase Agreement characterizes the Unit as a condominium. See

sections 1, 2, 3, 5, etc. of the Purchase Agreement.

       19.    ILSFDA applies to the sale of the Unit.

       20.    Pursuant to 15 U.S.C. § 1703, a developer is prohibited from making use of

any means or instruments of transportation or communications in interstate commerce, or

of the mails, in connection with the sale of any real property unless a printed property

report meeting the requirements of Section 1707 is furnished to a purchaser in advance of

the signing of any contract or agreement for sale by the purchaser.

       21.    Defendant failed to furnish a property report to Plaintiffs as required by 15

U.S.C. § 1703.

       22.    Pursuant to 15 U.S.C. § 1702(a)(2), the provisions of ILSFDA shall not

apply to the sale or lease of any improved land on which there is a residential,

commercial, condominium, or industrial building, or the sale or lease of land under a

contract obligating the seller or lessor to erect such building thereon within a period of

two years.

       23.    Defendant elected not to furnish the property report to Plaintiffs as required

by 15 U.S.C. § 1703 and instead apparently elected to rely upon an exemption provided

for under 15 U.S.C. § 1702.

       24.    Pursuant to 15 U.S.C. § 1702(a), the 15 U.S.C. § 1702(a) exemptions to

ILSFDA coverage do not apply if the method of disposition is adopted for the purpose of

evasion of ILSFDA.

       25.    Defendant and Plaintiffs entered into a previous purchase agreement for the

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Unit, pursuant to which Plaintiffs paid the deposits.

       26.     Defendant’s purpose of the Purchase Agreement was to insert language into

the parties’ previous purchase agreement in order to evade ILSFDA coverage and

protections.

       27.     Defendant’s method of disposition via the Purchase Agreement, after

having already entered into a previous purchase agreement with Plaintiffs, was for the

purpose of evasion of ILSFDA.

       28.     Pursuant to 15 U.S.C. § 1712, any condition, stipulation, or provision

binding any person acquiring any lot to waive compliance with any provision of ILSFDA

or of the rules and regulations of the Secretary shall be void.

       29.     Pursuant to 15 U.S.C. § 1703(a)(2)(A) of ILSFDA, it shall be unlawful for

any developer, with respect to the sale, or offer to sell, any lot not exempt from ILSFDA

to employ any device, scheme, or artifice to defraud.

       30.     Defendant has employed the Purchase Agreement, brochures, prospectus,

internet based promotional material, and other materials provided to Plaintiffs by

Defendant, and other devices, as part of its scheme to induce Plaintiffs to pay deposits to

it and to enter into the Purchase Agreement.

       31.     More specifically, Defendant represented via the devices and as part of its

scheme that it would deliver to Plaintiffs the therein described Unit and amenities, when

in fact it intended and attempted to deliver to Plaintiffs a substantially smaller and lesser

Unit and amenities.

       32.     Defendant has violated 15 U.S.C. § 1703(a)(2)(A) of ILSFDA.

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       33.     Pursuant to 15 U.S.C. § 1703(a)(2)(B) of ILSFDA, it shall be unlawful for

any developer, with respect to the sale, or offer to sell, any lot not exempt from ILSFDA

to obtain money or property by means of any untrue statement of a material fact, or any

omission to state a material fact necessary in order to make the statements made (in light

of the circumstances in which they were made and within the context of the overall offer

and sale) not misleading, with respect to any information pertinent to the lot or

subdivision.

       34.     Defendant, in connection with the sale of the Unit, obtained money from

Plaintiffs via untrue statements of material fact, pertinent to the Unit and development,

contained in the Purchase Agreement, brochures, prospectus, internet based promotional

material, and other materials provided to Plaintiffs by Defendant.

       35.     More specifically, Defendant obtained the deposits from Plaintiffs and

induced Plaintiffs to enter into the Purchase Agreement based upon untrue

representations and statements of material fact pertaining to the Unit and amenities.

       36.     Defendant has violated 15 U.S.C. § 1703(a)(2)(B) of ILSFDA.

       37.     Pursuant to 15 U.S.C. § 1703(a)(2)(C) of ILSFDA, it shall be unlawful for

any developer, with respect to the sale, or offer to sell, any lot not exempt from ILSFDA

to engage in any transaction, practice, or course of business which operates or would

operate as a fraud or deceit upon a purchaser.

       38.     Defendant, in connection with the sale of the Unit, engaged in a transaction,

practice, or course of business which operates as a deceit upon the Plaintiffs via untrue

statements of material fact, relating to the Unit and primary amenities, contained in the

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Purchase Agreement, brochures, prospectus, internet based promotional material, and

other materials provided to Plaintiffs by Defendant.

        39.    More specifically, Defendant deceived Plaintiffs, thereby inducing

Plaintiffs to pay deposits and enter into the Purchase Agreement, by making untrue

representations and statements of material fact pertaining to the Unit and amenities.

        40.    Defendant has violated 15 U.S.C. § 1703(a)(2)(C) of ILSFDA.

        41.    ILSFDA is intended to protect the public and should be liberally construed

in favor of the public.

        42.    Defendant failed to provide in the Purchase Agreement an unconditional

commitment to Plaintiffs to complete construction within two years.

        43.    Defendant has violated 15 U.S.C. § 1703 by failing to furnish a property

report to Plaintiffs, by utilizing the Purchase Agreement as a method to evade ILSFDA,

by failing to provide in the Purchase Agreement an unconditional commitment to

Plaintiffs to complete construction of the Unit within two years, by limiting Plaintiffs’

remedies in the event of Defendant’s breach, and by failing to otherwise comply with

ILSFDA.

        44.    ILSFDA, including 15 U.S.C. § 1709, provides that a purchaser may bring

an action at law or equity against both a developer or agent, which includes any person

who represents or acts for or on behalf of a developer, for a violation of 15 U.S.C. §

1703.

        45.    ILSFDA, 15 U.S.C. § 1703(c) - (e), provides that if the property report is

not furnished to the purchaser prior to the purchaser signing any contract or agreement

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for sale for the property at issue, the purchaser, at his option, may revoke the contract and

shall be entitled to all money paid under the contract, including any and all deposits paid.

       46.      Plaintiffs have paid deposits totaling $82,500.00.

       47.      Pursuant to 15 U.S.C. § 1709, Plaintiffs are entitled to reasonable attorney

fees, court costs, independent appraisers’ fees and travel to and from the Unit.

       WHEREFORE, Plaintiffs demand judgment against Defendant for statutory and

equitable rescission and revocation of the Purchase Agreement, for $82,500.00 plus other

damages, together with attorney fees and costs, pre-judgment interest, costs, and such

further relief as this Court deems just and proper.

    COUNT II – VIOLATION OF 15 U.S.C. § 77e - SECURITIES ACT OF 1933

       48.      Paragraphs 1 through 13 and 111 through 137 are realleged as though fully

set forth herein.

       49.      The Purchase Agreement is a security as defined by 15 U.S.C. § 77b(a)(1)

of the Securities Act of 1933 (the “Act”).

       50.      Defendant is a person as defined by 15 U.S.C. § 77b(a)(2) of the Act.

       51.      Pursuant to 15 U.S.C. § 77e, unless a registration statement is in effect as to

a security, it shall be unlawful for any person, directly or indirectly, to make use of any

means or instruments of transportation or communication in interstate commerce or of the

mails to sell such security through the use or medium of any prospectus or otherwise.

       52.      Defendant has failed to file a registration statement as required by 15

U.S.C. § 77e.

       53.      Defendant violated 15 U.S.C. § 77e by failing to file a registration

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statement.

          54.    The Act, 15 U.S.C. § 77l, provides that if any person offers or sells a

security in violation of section 77e of this title, the person shall be liable to the person

purchasing the security for the consideration paid for such security with interest thereon.

          55.    The Act, 15 U.S.C. § 77l, provides that if any person offers or sells a

security by means of a prospectus or oral communications, which includes an untrue

statement of a material fact or omits to state a material fact necessary in order to make the

statements, in light of the circumstances under which they were made, not misleading, the

person shall be liable to the person purchasing the security for the consideration paid for

such security with interest thereon.

          56.    The Act, 15 U.S.C. § 77n, provides that any condition, stipulation, or

provision binding any person acquiring any security to waive compliance with any

provision of the Act shall be void.

          57.    The Act is to be liberally construed in favor of protecting the investing

public.

          58.    The Purchase Agreement is an investment contract as defined by the Act.

          59.    The Purchase Agreement requires the investment of money by Plaintiffs.

          60.    The Purchase Agreement pertains to a common enterprise as it entails the

purchase of one of over 290 units to be used as part of a resort condominium.

          61.    The Declaration of Condominium of The Grande Palisades C2, A

Condominium, contemplates use of the Unit for long-term and short-term rentals.

          62.    The Purchase Agreement contemplates the expectation of profits to be

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derived solely from the efforts of others.

       63.      On or after the date Plaintiffs signed the Purchase Agreement, Defendant

provided Plaintiffs with the “2008 Marketing Plan Overview,” emphasizing the rental

revenue calculations, occupancy rates, and other investment aspects of the Unit to be

professionally managed and marketed by Grande International Resort Management in

conjunction with a management arrangement.

       64.      Plaintiffs, and other purchasers, are dependent on the efforts of Defendant

or Defendant’s agent to make a profit.

       65.      Plaintiffs are subject to financial loss.

       WHEREFORE, Plaintiffs demand judgment against Defendant for revocation of

the Purchase Agreement, for $82,500.00 plus other damages, together with attorney fees

and costs, pre-judgment interest, costs, and such further relief as this Court deems just

and proper.

      COUNT III – VIOLATION OF FLORIDA STATUTES CHAPTER 517
        FLORIDA SECURITIES AND INVESTOR PROTECTION ACT

       66.      Paragraphs 1 through 13 and 48 through 65 are realleged as though fully set

forth herein.

       67.      The Purchase Agreement is a security as defined by Florida Statutes §

517.021(21)(q) of Florida Statutes Chapter 517 (the “Florida Act”).

       68.      Defendant is a person for purposes of the Florida Act.

       69.      Defendant is an issuer for purposes of the Florida Act.

       70.      The Florida Act is to be given a broad and liberal interpretation to


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effectuate its purpose of protecting the public.

       71.    Pursuant to Florida Statutes § 517.07, unless a security is exempt or

registered, a security shall not be sold or offered for sale within the State of Florida.

       72.    Pursuant to Florida Statutes § 517.07, unless a security is exempt or a

prospectus meeting the requirements of rules adopted by the commission is furnished to

the purchaser prior to each sale, a security shall not be sold or offered for sale within the

State of Florida.

       73.    The Purchase Agreement is not exempt from the requirements of Florida

Statutes Chapter 517 and the burden of establishing the right to any exemption is upon

Defendant.

       74.    Defendant failed to register the Purchase Agreement as required by Florida

Statutes Chapter 517.

       75.    Defendant failed to secure a permit to sell securities as required by Florida

Statutes Chapter 517.

       76.    Pursuant to Florida Statutes § 517.12(1), no issuer of securities shall sell or

offer for sale any securities in or from offices in the State of Florida, by mail or

otherwise, unless the person has been registered with the State of Florida Office of

Financial Regulation pursuant to the Florida Act.

       77.    Pursuant to Florida Statutes § 517.021(20), sale means any contract of sale

of any investment, security, or interest in a security, for value.

       78.    Pursuant to Florida Statutes § 517.211, every sale made in violation of

Florida Statutes § 517.07 or 517.12(1) may be rescinded at the election of the purchaser

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and each person making the sale and every director, officer, partner, or agent of or for

Defendant may be held jointly and severally liable to Plaintiffs in an action for rescission.

       79.     Defendant has violated the Florida Act.

       80.     Pursuant to Florida Statutes § 517.211(6), Plaintiffs are entitled to an award

of reasonable attorney fees.

       81.     Pursuant to Florida Statutes § 517.241(3), Plaintiffs are entitled to the same

civil remedies provided by the United States for the purchasers of securities, including an

award of interest.

       WHEREFORE, Plaintiffs demand judgment against Defendant for revocation of

the Purchase Agreement, for $82,500.00 plus other damages, together with attorney fees

and costs, pre-judgment interest, costs, and such further relief as this Court deems just

and proper.

             COUNT IV - VIOLATION OF FLORIDA STATUTES § 718.202

       82.     Paragraphs 1 through 13 are realleged as though fully set forth herein.

       83.     Pursuant to Florida Statutes § 718.103(23), a residential condominium is

defined as a condominium of two or more units, any of which are intended for use as a

private temporary or permanent residence.

       84.     The Declaration of Condominium of The Grande Palisades C2, A

Condominium, Article 5, describes the building as containing 293 residential units.

       85.     The Department of Business and Professional Regulation Division of

Florida Land Sales, Condominiums, and Mobile Homes’ Final Order BPR-99-06267

(Page 7), provides that a condominium containing units which are leased or rented on a

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transient basis are included in the definition of residential condominium as set forth in

Florida Statutes § 718.103.

       86.    The condominium development owned by Defendant, and which contains

the Unit, is a residential condominium as defined by Florida Statutes § 718.103(23).

       87.    Pursuant to Florida Statutes § 718.202(1), if a developer contracts to sell a

condominium parcel and the construction of the property has not been substantially

completed, the developer shall pay into an escrow account all payments up to 10 percent

of the sale price received by the developer from the buyer towards the sale price.

       88.    Pursuant to Florida Statutes § 718.202(2), all payments which are in excess

of the 10 percent of the sale price described in Florida Statutes § 718.202(1), and which

have been received prior to completion of construction by the developer from the buyer

on a contract for purchase of a condominium parcel, shall be held in a special escrow

account and may not be used by the developer prior to the closing of the transaction,

except for refund to the buyer or, if the contract so provides, the developer may withdraw

escrow funds in excess of 10 percent of the purchase price from the special escrow

account when construction of improvements has begun.

       89.    Pursuant to Florida Statutes § 718.202(3), if the developer withdraws

special escrow account funds in excess of 10 percent of the purchase price when

construction of improvements has begun, then such funds may only be used in the actual

construction and development of the condominium property in which the unit to be sold

is located and no part of such funds may be used for salaries, commissions, or expenses

of salespersons or for advertising purposes.

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       90.      Pursuant to Florida Statutes § 718.202, Defendant was required to establish

two separate escrow accounts to hold Plaintiffs’ deposits.

       91.      Plaintiffs’ deposits were paid directly to Defendant, or an account

designated by Defendant, and not to an escrow agent or an account controlled by an

escrow agent.

       92.      After receiving Plaintiffs’ deposits, Defendant deposited 10 percent of the

purchase price with an escrow agent and retained the remainder.

       93.      Prior to the start of construction and development of the condominium

building in which the Unit was to be located, Defendant retained all of Plaintiffs’ deposit

funds, with the exception of the 10 percent of the sale price required to be retained

pursuant to Florida Statutes § 718.202(1).

       94.      Plaintiffs’ deposit funds retained and/or otherwise received by Defendant

were not used in the actual construction and development of the condominium property

in which the unit to be sold is located.

       95.      Pursuant to Florida Statutes § 718.202(5), Defendant’s failure to comply

with the provisions of Florida Statutes § 718.202 renders the Purchase Agreement

voidable by Plaintiffs.

       96.      Pursuant to Florida Statutes § 718.202(5), if Plaintiffs elect to void the

Purchase Agreement, all sums deposited or advanced under the Purchase Agreement shall

be refunded to Plaintiffs, with interest.

       97.      Despite Plaintiffs’ delivery of timely, written notice to Defendant of

Plaintiffs’ intention to cancel, Defendant has refused to acknowledge that the Purchase

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Agreement is voided and has refused to authorize the release and return to Plaintiffs of

their deposit money totaling $82,500.00.

       98.     Pursuant to Florida Statutes § 718.125, Plaintiffs are entitled to an award of

reasonable attorney fees and costs.

       WHEREFORE, Plaintiffs demand judgment against Defendant for rescission of

the Purchase Agreement, declaring the Purchase Agreement voided, $82,500.00 plus

other damages, together with attorney fees and costs, pre-judgment interest, costs, and

such further relief as this Court deems just and proper.

             COUNT V - VIOLATION OF FLORIDA STATUTES § 718.503

       99.     Paragraphs 1 through 13, 82 through 86, and 111 through 134 are realleged

as though fully set forth herein.

       100.    Pursuant to Florida Statutes § 718.504, every developer of a residential

condominium which contains more than 20 residential units shall prepare a prospectus or

offering circular.

       101.    The condominium development owned by Defendant, and which contains

the Unit, contains more than 20 residential units.

       102.    Pursuant to Florida Statutes § 718.503(1)(b), a developer must deliver to a

prospective buyer the prospectus or disclosure statement with all exhibits.

       103.    Defendant has violated Florida Statutes § 718.503 by failing to deliver a

prospectus or disclosure statement with all exhibits to Plaintiffs.

       104.    Pursuant to Florida Statutes § 718.503, a developer must deliver to a

prospective buyer any amendment which materially alters or modifies the offering in a

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manner that is adverse to the buyer.

       105.    Florida Statutes § 718.503 provides that until such time as the developer

has furnished the statutorily required documents to a purchaser who has entered into a

contract to purchase a residential unit, the contract may be voided and the purchaser is

entitled to a refund of any deposits together with interest.

       106.    Florida Statutes § 718.503 provides that once a developer has furnished the

statutorily required documents to a purchaser who has entered into a contract to purchase

a residential unit, the contract may be voided by the purchaser within 15 days after the

date of receipt from the developer of any amendment which materially alters or modifies

the offering in a manner that is adverse to the buyer.

       107.    Defendant failed to provide Plaintiffs with various statutorily required

documents which materially alter or modify the offering in a manner that is adverse to

Plaintiffs.

       108.    Despite Plaintiffs’ delivery of timely, written notice to Defendant of

Plaintiffs’ intention to cancel, Defendant has refused to acknowledge that the Purchase

Agreement is voided and has refused to authorize the release and return to Plaintiffs of

their deposit money totaling $82,500.00.

       109.    Pursuant to Florida Statutes § 718.125, Plaintiffs are entitled to an award of

reasonable attorney fees and costs.

       WHEREFORE, Plaintiffs demand judgment against Defendant for rescission of

the Purchase Agreement, $82,500.00 plus other damages, together with attorney fees and

costs, pre-judgment interest, costs, and such further relief as this Court deems just and

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proper.

           COUNT VI – VIOLATION OF FLORIDA STATUTES § 718.506

       110.     Paragraphs 1 through 13, 82 through 86, and 99 through 109 are realleged

as though fully set forth herein.

       111.     Prior to Plaintiffs signing the Purchase Agreement, Defendant published

and provided to Plaintiffs information that The Grande Palisades units square footage

would be 1263 square feet interior, 171 square feet balconies, for 1434 total square feet,

for a Two Bedroom Gold Palermo; 1359 square feet interior, 208 square feet balconies,

for 1567 total square feet, for a Two Bedroom Corner Gold Seville; 1354 square feet

interior, 171 square feet balconies, for 1525 total square feet, for a Three Bedroom Gold

Barcelona; 1386 square feet interior, 159 square feet balconies, for 1535 [sic] total square

feet, for a Two Bedroom Platinum Havana; and 1504 square feet interior, 159 square feet

balconies, for 1663 total square feet, for a Three Bedroom Platinum Casablanca as

reflected in The Grande Palisades Resort at Lake Austin Reserve Orlando Florida

brochure and other promotional materials provided to Plaintiffs by Defendant.

       112.     The actual Grande Palisades units square footage is 1263 total square feet

or less, for a Two Bedroom Gold Palermo; 1359 total square feet or less, for a Two

Bedroom Corner Gold Seville; 1354 total square feet or less, for a Three Bedroom Gold

Barcelona; 1386 total square feet or less, for a Two Bedroom Platinum Havana; and 1504

total square feet or less, for a Three Bedroom Platinum Casablanca.

       113.     The square footage of the Unit is a material statement or information

because it goes to the very essence of a condominium unit, which entails the purchase of

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the right to exclusively occupy a certain area within the condominium building and does

not include the exclusive ownership of any land associated with the condominium

building.

       114.   At the time that Defendant provided the information, it knew, or should

have known, that the actual Unit square footage contemplated to be conveyed to Plaintiffs

would be significantly less, as reflected in Article 6.2.1 of the Declaration of

Condominium of The Grande Palisades C2, A Condominium, and other materials.

       115.   Plaintiffs reasonably relied upon the material statement or information

regarding the Unit square footage and, in reliance thereupon, paid deposits and entered

into the Purchase Agreement to purchase the Unit.

       116.   The Unit square footage representations made by Defendant to Plaintiffs

were false and misleading because the actual Unit square footage contemplated to be

conveyed to Plaintiffs is less than represented by Defendant.

       117.   Prior to Plaintiffs signing the Purchase Agreement, Defendant published

and provided to Plaintiffs information regarding various aspects of the condominium

building, amenities and Unit as reflected in the Purchase Agreement, brochures,

prospectus, internet based promotional material, and other materials provided to Plaintiffs

by Defendant.

       118.   The referenced representations and information include, but are not limited

to, the following.

       119.   A Heated Outdoor Swimming Pool, more specifically, an irregular-shaped

heated swimming pool with a depth of three to five feet, containing approximately 3,000

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square feet with a capacity of approximately 90,000 gallons, and designed to

accommodate one hundred (100) individuals, to be used only by unit owners of The

Grande Palisades Condominium.

      120.    A Heated Jacuzzi Spa, more specifically, a spa approximately 12 feet in

diameter, having a capacity of approximately 10 people to be used only by unit owners of

The Grande Palisades Condominium.

      121.    A Pool Deck, more specifically, a 10 foot deck surrounding the pool,

containing approximately 12,400 square feet and designed to accommodate three hundred

sixty (360) sunbathers, to be used only by unit owners of The Grande Palisades

Condominium.

      122.    A Commercial Club House to include a Fitness Centre, Mini Cinema,

Internet Café, Games Room, Lounge Facilities and Reception Area.

      123.    Multiple outdoor heated swimming pools and jacuzzis.

      124.    A health spa and spa facilities.

      125.    Small movie theatre, shops, bars, restaurant and lounge areas.

      126.    Children’s recreational area.

      127.    Boating facilities.

      128.    A security gatehouse located at the entrance to the condominium, to be

used only by unit owners of The Grande Palisades Condominium.

      129.    Approximately 450 parking spaces located throughout the Condominium

property, consisting of approximately 420 standard sized parking spaces and

approximately 30 handicap sized parking spaces, to be used only by unit owners of The

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Grande Palisades Condominium.

       130.   A minimum of $50,000.00 to be expended to purchase personal property

for the commonly used facilities.

       131.   The referenced matters are material statements or information because they

pertain to Plaintiffs’ financial, ownership, use and other rights and obligations upon

closing on the purchase of the Unit.

       132.   At the time that Defendant provided the information, it knew, or should

have known, that the information was false.

       133.   Plaintiffs reasonably relied upon the material statement or information

regarding the Unit square footage, building amenities square footage and capacity, use

rights and other representations and, in reliance thereupon, paid deposits and entered into

the Purchase Agreement to purchase the Unit.

       134.   At the time that Defendant provided the information regarding the Unit

square footage, building amenities square footage and capacity, use rights and other

representations, it knew, or should have known, that the actual square footage and

capacity, use rights and other representations were materially and adversely different.

       135.   Pursuant to Florida Statutes § 718.506, any person who, in reasonable

reliance upon any material statement or information that is false or misleading and

published by or under authority from the developer in advertising and promotional

materials, including, but not limited to, a prospectus, the items required as exhibits to a

prospectus, brochures, and newspaper advertising, pays anything of value toward the

purchase of a condominium parcel located in this state shall have a cause of action to

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rescind the contract or collect damages from the developer for his or her loss prior to the

closing of the transaction.

       136.     Pursuant to Florida Statutes § 718.506(2), Plaintiffs are entitled to an award

of reasonable attorney fees and costs.

       137.     Plaintiffs have paid deposits totaling $82,500.00.

       WHEREFORE, Plaintiffs demand judgment against Defendant for rescission of

the Purchase Agreement, $82,500.00 plus other damages, together with attorney fees and

costs, pre-judgment interest, costs, and such further relief as this Court deems just and

proper.

    COUNT VII – VIOLATION OF FLORIDA STATUTES § 501.201 ET SEQ

       138.     Paragraphs 1 through 137 are realleged as though fully set forth herein.

       139.     This count is brought pursuant to the Florida Deceptive and Unfair Trade

Practices Act, Florida Statutes § 501.201 et seq (“FDUTPA”).

       140.     Pursuant to Florida Statutes § 501.202, FDUTPA is to be construed

liberally to, inter alia, promote the policies of simplifying, clarifying and modernizing the

law governing consumer protection, unfair methods of competition, and unconscionable,

deceptive, and unfair trade practices, as well as to protect the consuming public and to

make state consumer protection and enforcement consistent with established policies of

federal law relating to consumer protection.

       141.     Pursuant to Florida Statutes § 501.203(3)(c), a violation of any law, statute,

rule, or ordinance which proscribes unfair methods of competition, or unfair, deceptive,

or unconscionable acts or practices is a per se violation of FDUTPA.

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       142.   As set forth in Trotta v. Lighthouse Point Land Company, LLC, 551 F.

Supp. 2d 1359, 1367 (S.D. Fla. 2008), a violation of ILSFDA is a per se violation of

FDUTPA.

       143.   Because Defendant has violated ILSFDA, it has violated FDUTPA.

       144.   The Securities Act of 1933, similar to ILSFDA, was enacted by the United

States legislature to protect the public, as such, a violation of the Securities Act of 1933 is

a per se violation of FDUTPA.

       145.   Because Defendant has violated the Securities Act of 1933, it has violated

FDUTPA.

       146.   Florida Statutes Chapter 517, similar to the Securities Act of 1933, was

enacted by the Florida legislature to protect the public, as such, a violation of Florida

Statutes Chapter 517 is a per se violation of FDUTPA.

       147.   Because Defendant has violated Florida Statutes Chapter 517, it has

violated FDUTPA.

       148.   As set forth in Asbury Arms Development Corporation v. Florida

Department of Business Regulations, Division of Florida Land Sales and Condominiums,

456 So. 2d 1291, 1293 (Fla. 2d DCA 1984), the Florida legislature enacted Florida

Statutes Chapter 718 to protect the public, as such, a violation of Florida Statutes Chapter

718, and specifically Florida Statutes §§ 718.202, 718.503 or 718.506, is a per se

violation of FDUTPA.

       149.   As Defendant has violated Florida Statutes Chapter 718, it has violated

FDUTPA.

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       150.   The violations of the above referenced laws each constitute per se deceptive

acts and/or unfair acts and/or practices because the violations of these laws caused

Plaintiffs not to be provided with the legally mandated protections and disclosures, which

would have contained important warnings about the risks associated with purchasing the

Unit, and are also likely to mislead prospective purchasers.

       151.   The violations of the above referenced laws caused Plaintiffs to enter into

the Purchase Agreement and pay significant deposits which they would not have done

had they been provided with the legally mandated protections and disclosures.

       152.   Pursuant to Florida Statutes § 501.211(1), without regard to any other

remedy or relief to which Plaintiffs are entitled, Plaintiffs may bring an action to enjoin

Defendant from violating FDUTPA and are entitled to equitable relief in the form of

rescission of the Purchase Agreement and enjoinment of Defendant from enforcing any

terms of the Purchase Agreement.

       153.   Pursuant to FDUTPA, Plaintiffs are entitled to a declaratory judgment that

Defendant has violated FDUTPA, that Defendant’s failure to comply with ILSFDA, the

Securities Act of 1933, Florida Statutes Chapter 517 and Florida Statutes Chapter 718

constitute violations of FDUTPA, and that, pursuant to Florida Statutes § 501.211(2),

Plaintiffs are entitled to recover from Defendant their actual damages plus attorney fees

and court costs.

       WHEREFORE, Plaintiffs demand judgment against Defendant for enjoinment of

Defendant from violating FDUTPA and enjoinment of enforcement of the Purchase

Agreement, $82,500.00 plus other damages, together with attorney fees and costs, pre-

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judgment interest, costs, and such further relief as this Court deems just and proper.

                        COUNT VIII – BREACH OF CONTRACT

       154.    Paragraphs 1 through 13 and 111 through 137 are realleged as though fully

set forth herein.

       155.    Plaintiffs and Defendant are the parties to the Purchase Agreement which is

attached hereto as Exhibit 1.

       156.    Sections 1 and 41 of the Purchase Agreement provide that Plaintiffs may

void and cancel the Purchase Agreement within 15 days after the date of execution of the

Purchase Agreement and receipt by Plaintiffs of all of the items required to be delivered

to Plaintiffs by Defendant under Florida Statutes § 718.503.

       157.    Sections 1 and 41 of the Purchase Agreement provide that Plaintiffs may

void and cancel the Purchase Agreement within 15 days after the date of receipt from

Defendant of any amendments which materially alter or modify the offering in a manner

that is adverse to Plaintiffs.

       158.    Defendant materially breached the Purchase Agreement, thereby excusing

any further performance by Plaintiffs, by failing to provide the items required to be

delivered to Plaintiffs by Defendant under Florida Statutes § 718.503 and/or failing to

deliver to Plaintiffs amendments which materially alter or modify the offering in a

manner that is adverse to Plaintiffs.

       159.    Section 10 of the Purchase Agreement provides that Defendant is

unconditionally obligated to complete the Unit on or before the date that is two years

from the date that Plaintiffs signed the Purchase Agreement.

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       160.     The Unit includes the right to use, and requires the completion of, the

amenities and facilities set forth in section 7 of the Purchase Agreement.

       161.     Defendant has failed to timely complete the Unit and/or the amenities and

facilities set forth in section 7 of the Purchase Agreement.

       162.     Section 30 of the Purchase Agreement provides that the performance of all

obligations on the precise times stated in the Purchase Agreement is of absolute

importance and failure to perform on time is a default, time being of the essence.

       163.     Defendant materially breached the Purchase Agreement, thereby excusing

any further performance by Plaintiffs, by failing to timely complete the Unit and/or the

amenities and facilities set forth in section 7 of the Purchase Agreement.

       164.     Section 12 of the Purchase Agreement provides that Plaintiffs shall not be

obligated to close on the purchase of the Unit until Defendant has recorded the

Declaration of Condominium and related documents in the Orange County public records

and has obtained a temporary or permanent certificate of occupancy for or covering the

Common Elements of the Condominium and the Unit from the proper government

agency.

       165.     As of the date of commencement of this lawsuit, Defendant has not

recorded The Grande Palisades phase building C2 Declaration of Condominium in the

Orange County public records.

       166.     Defendant has materially breached the Purchase Agreement by failing to

comply with its obligations under the Purchase Agreement, which were conditions

precedent to Plaintiffs’ obligation to close on the purchase of the Unit.

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       167.   Section 16 of the Purchase Agreement provides that if Defendant defaults

under any of the provisions of the Purchase Agreement, then Plaintiffs have the right to

1) terminate the Purchase Agreement and receive a refund of all deposits actually paid

under the Purchase Agreement and the interest earned on them, if any, or 2) specifically

enforce the Purchase Agreement.

       168.   Plaintiffs have paid deposits totaling $82,500.00.

       169.   Pursuant to section 17 of the Purchase Agreement, Plaintiffs are entitled to

recover Plaintiffs’ attorney fees and costs from Defendant.

       WHEREFORE, Plaintiffs demand judgment against Defendant for revocation of

the Purchase Agreement, $82,500.00 plus other damages, together with pre-judgment

interest, attorney fees, costs, and such further relief as this Court deems just and proper.

                         COUNT IX – DECLARATORY RELIEF

       170.   Paragraphs 1 through 169 are realleged as though fully set forth herein.

       171.   This count is brought pursuant to Florida Statutes Chapter 86.

       172.   Plaintiffs and Defendant are the parties to the Purchase Agreement which is

attached hereto as Exhibit 1.

       173.   Pursuant to the Purchase Agreement, Vanguard Title, LLC, and

subsequently Aloma Title Company and Extensor Capital Investment Partners II, LLC, as

escrow agents, were or are holding all or part of Plaintiffs’ deposits totaling $82,500.00.

       174.   For the multiple reasons set forth in the counts contained in this lawsuit,

Plaintiffs maintain that they are entitled to the immediate return of all funds being held by

Vanguard Title, LLC, Aloma Title Company, Extensor Capital Investment Partners II,

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LLC, or any other escrow agent, person or entity holding any of the funds paid by

Plaintiffs in connection with the Purchase Agreement.

       175.   Despite demand upon Defendant, Vanguard Title, LLC, Aloma Title

Company and Extensor Capital Investment Partners II, LLC, to return the funds, they

have failed or refused to return such funds to Plaintiffs.

       176.   Pursuant to section 17 of the Purchase Agreement, Plaintiffs are entitled to

recover Plaintiffs’ attorney fees and costs from Defendant.

       WHEREFORE, Plaintiffs demand a declaratory judgment that 1) the Purchase

Agreement is rescinded, and alternatively breached by Defendant; 2) Plaintiffs are

entitled to the return of the full deposit of $82,500.00 plus any interest accrued on said

amount; 3) Plaintiffs are entitled to an award of attorney fees, costs and interest; and 4)

Plaintiffs are entitled to such other and further relief as this Court deems just and proper.

                                                       Respectfully submitted,

                                                       s/ John L. Urban
                                                       John L. Urban, Esq.
                                                       Fla. Bar No. 0175307
                                                       Attorneys for Plaintiffs
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